 Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.1 Filed 04/19/21 Page 1 of 12




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


MARTEZE HALIBURTON,                      )
                                         )
                                         )
                 Plaintiff,              )   Case No.
                                         )   Hon.
     v.                                  )
                                         )
CITY OF FERNDALE, a Michigan             )
                                         )
Municipal Corporation, d/b/a FERNDALE    )
POLICE DEPARTMENT, BRANDON               )
SZCZESNIAK, JUSTIN HARWOOD,              )
                                         )
KEVIN JEROME, and NATHAN                 )
BODENDORFER, in their individual and     )
official capacities,                     )
                                         )
                                         )
                 Defendants.             )
                                                                              /

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                                                                          /

                   COMPLAINT AND JURY DEMAND
 Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.2 Filed 04/19/21 Page 2 of 12




      Plaintiff, Marteze Haliburton, by and through his attorneys, Joel B. Sklar and

Todd Perkins, files this Complaint and Jury Demand and states the following:

                                 JURISDICTION

     1.     This lawsuit arises out of the wrongful search, arrest and detention of

Plaintiff Marteze Haliburton on May 1, 2019 by Defendant City of Ferndale

Officers Brandon Szczeskiak, Justin Harwood, Kevin Jerome, and Nathan

Bodendorfer in relation to an unlawful public cavity search conducted by

Defendant Jerome of Mr. Haliburton, a young black male, who was a passenger in

a vehicle stopped by Defendants. Defendant officers lacked any legal justification

or excuse to conduct a cavity search in public while Plaintiff was in handcuffs and

easily transportable to the Ferndale Police Station where a warrant could be

obtained to conduct the cavity search in a private or more appropriate setting, as

the Constitution required. As a result of the unlawful cavity search, Plaintiff was

arrested, detained, and charged with various crimes. All charges were later

dismissed when the State district court granted Plaintiff’s motion to suppress

because the Defendant officers violated Plaintiff’s clearly established Fourth and

Fourteenth Amendment rights, among other things. The individual and collective

actions by the Defendants were intentional, patently unreasonable, unconstitutional

and in furtherance of an unconstitutional policy or custom of overstepping and

ignoring   citizens’   constitutional   guarantees   and/or   harassing,   targeting,

stereotyping, prejudging, demeaning, humiliating, and discriminating against
                                          2
  Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.3 Filed 04/19/21 Page 3 of 12




Plaintiff and other minorities simply because of their race and adopted and/or

tolerated the City of Ferndale d/b/a Ferndale Police Department. At all times,

Plaintiff’s constitutional rights were clearly established and known by the

individual Defendant to be so. The individual Defendants, therefore, are not

entitled to qualified or other immunity provided by law.

      2.     The claims made by Plaintiff are filed pursuant to 42 USC § 1983 to

vindicate Plaintiff’s Fourth and Fourteenth Amendment guarantees.

      3.     This Court has original jurisdiction over these claims pursuant to 28

USC § 1331.

      4.     Plaintiff, Marteze Haliburton, is an individual who resides within this

District.

      5.     Defendant City of Ferndale is a municipal corporation which operates

and does business as the Ferndale Police Department (FPD) which is located

within this District.

      6.     Defendant Brandon Szczeskniak is an officer for FPD and resides

and/or transacts business within this District.

      7.     Defendant Justin Harwood is an officer for the FPD who resides

and/or transacts business within this District.

      8.     Defendant Kevin Jerome is an officer for the FPD who resides and/or

transacts business within this District.



                                           3
 Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.4 Filed 04/19/21 Page 4 of 12




     9.      Nathan Bodendorfer is an officer for the FDD who resides and/or

transacts business within this District.

     10.     The individual Defendants were acting at all times under color of law

and are being sued in their individual capacities.

     11.     The individual Defendants are not entitled to qualified or any other

immunity because they knowingly and intentionally violated Plaintiff’s clearly

established Fourth and Fourteenth Amendment rights to which any reasonable

officer would have known.

      12.    Jurisdiction is proper pursuant to 28 USC §§1343(a)(3) and 1331 and

42 USC §1983.

      13.    Venue is proper in this Court pursuant to 28 USC §1391(a)(1) and (2)

since the events giving rise to this claim all occurred in Oakland County, Michigan

which is within this District.

                                       FACTS

     14.     Plaintiff restates the above allegations word for word and paragraph

for paragraph.

     15.     On or about May 1, 2019, at about 7:45 p.m., Plaintiff, an African-

American citizen, was a front seat passenger in a KIA Sorrento (the “KIA”) driven

by a friend, Deon Frazier, who is also African-American.

     16.     On or about May 1, 2019, at about 8:00 p.m. Defendant Jerome, a

white FPD officer, effectuated a traffic stop of the KIA.
                                           4
 Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.5 Filed 04/19/21 Page 5 of 12




      17.    The KIA came to a stop at a well-lit Meijer gas station located at 8-

Mile Road in the City of Detroit.

      18.    The location where the Kia was stopped was adjacent to a highly-

travelled highway and the Meijer gas station was open with patrons present with a

clear view of Plaintiff.

      19.    Defendant Jerome questioned Plaintiff and Mr. Frazier for several

minutes regarding their travel itinerary.

      20.    Plaintiff and Mr. Frazier cooperated and answered the questions asked

by Defendant Jerome.

      21.    Defendant Jerome searched Mr. Frazier and, when he was done,

instructed Mr. Frazier to sit on the KIA’s rear bumper.

      22.    Defendant Jerome then turned his attention to Plaintiff and conducted

a search of Plaintiff where Defendant Jerome fondled Plaintiff’s crotch.

      23.    Defendant Jerome than handcuffed Plaintiff and placed him in the rear

of his police car.

      24.    Defendant Jerome called for back-up and at least five uniformed FPD

officers in at least three fully marked squad cars arrived at the Meijer gas station.

      25.    All of the officers who arrived at the Meijer gas station were white.

      26.    After the officers arrived, Defendant Jerome removed Plaintiff from

the back of his police car and led him back to the KIA.



                                            5
 Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.6 Filed 04/19/21 Page 6 of 12




        27.   Despite the fact that Plaintiff was in custody with his hands cuffed

behind his back, surrounded by a number of FPD officers and no threat of flight,

fight or destroying evidence, and in full view of gas station patrons and passersby,

Defendant Jerome ordered Plaintiff to turn his body toward the KIA, pulled

Plaintiff’s pants down thereby exposing him, instructed Plaintiff to bend over, and

then inserted his finger(s) directly into Plaintiff’s rectum ostensibly to search for

contraband.

        28.   Plaintiff was shocked and horrified.

        29.   Defendant Jerome made no effort to conceal the disrobing of Plaintiff

from public view, including the patrons at the Meijer’s gas station and passersby.

        30.   Defendant Jerome then placed Plaintiff under arrest for possession of

a controlled substance and transported Plaintiff to the Ferndale Police Department

Jail.

        31.   Plaintiff remained in custody for several days based on the fruits from

the unlawful actions of Defendants which violated his Fourth and Fourteenth

Amendment rights.

        32.   On May 23, 2019, the state district court dismissed all charges against

Plaintiff because the search conducted by Defendant Jerome in concert with other

Defendants was unlawful.




                                          6
  Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.7 Filed 04/19/21 Page 7 of 12




      33.     The conduct of the individual Defendants as described in this

Complaint, were willful, intentional, reckless, and showed a deliberate indifference

and blatant disregard of Plaintiff’s federally guaranteed rights as a citizen.

      34.     Defendant City of Ferndale as a matter of practice, policy and custom

has, with deliberate indifference failed to train, sanction or discipline officers,

including the Defendant officers in this case, who concealed violations of the

constitutional rights of citizens by other police officers, thereby causing and

encouraging police officers, including the Defendant police officers in this case, to

engage in unlawful and unconstitutional conduct.

                                      COUNT I

            VIOLATION OF PLAINTIFF’S FOURTH AND
      FOURTEENTH AMENDMENT RIGHTS FILED PURSUANT TO
                42 U.S.C. § 1983 AND 42 USC § 1985

      35.     Plaintiff restates and incorporates word for word the prior allegations,

as if fully stated herein.

      36.     The Fourth Amendment to the U.S. Constitution guarantees “the right

of the people to be secure in their persons, houses, papers, and effects, against

unreasonable search and seizures.”

      37.     The Fourteenth Amendment guarantees each citizen, no matter their

race, due process and equal protection under the law.

      38.     Defendants detained and searched Plaintiff in violation of his clearly

established Fourth and Fourteenth Amendment rights.
                                           7
 Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.8 Filed 04/19/21 Page 8 of 12




      39.    Defendant Jerome had no legal basis, justification or excuse to

conduct a warrantless cavity search of Plaintiff in public incident to his unlawful

arrest.

      40.    After Plaintiff told Defendant Jerome that his search was illegal and

that he had no right to insert his finger(s) “up my butthole” Defendant Jerome

manhandled Plaintiff and gratuitously inflicted pain.

      42.    Defendants’ actions were intentional, deliberate, and further showed a

reckless disregard and or callous indifference for the constitutional rights of

Plaintiff.

      43.    The individual Defendants conspired to deprive Plaintiff of his

constitutional rights in violation of 42 USC § 1985 and/or failed to intervene when

Defendant Jerome, in clear view, violated Plaintiff’s federally guaranteed rights

when Defendant Jerome conducted a public cavity search and used excessive

force.

      44.    Defendant City of Ferndale acquiesced, condoned, approved, and

ratified the unconstitutional conduct of the Defendant police officers.

      45.    Defendant City of Ferndale, by its customs, policies and/or practices,

failed to enforce their own rules and regulations pertaining to arrest, custody and

detention of Plaintiff in violation of the minimum standards of the law and the

Constitution, whereby Plaintiff was deprived of liberty and the right to be free

from unreasonable searches and seizures.
                                          8
 Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.9 Filed 04/19/21 Page 9 of 12




     46.     As a direct and proximate result of Defendants’ constitutional

violations, Plaintiff suffered both economic and non-economic injuries including,

but not limited to, fear, humiliation, indignation, depression, anxiety, emotional

distress, loss of the enjoyments of life, legal fees, and other damages that will

continue to develop during and after this litigation.

      ACCORDINGLY, Plaintiff seeks judgment against Defendants, jointly and

severally, in excess of the jurisdictional limit of this Court and to which Plaintiff is

entitled, plus costs, interest and reasonable attorney fees, together with punitive

and other damages provided by 42 USC § 1983 and 42 USC § 1988, law and good

conscience including, but not limited to, injunctive relief to prohibit Defendants

from engaging in such unlawful behavior.

                                     COUNT II

       VIOLATION OF PLAINTIFF’S FOURTEENTH AMENDMENT
                  EQUAL PROTECTION RIGHTS

      47.    Plaintiff restates word for word and paragraph for paragraph each of

the allegations above.

      48.    The Fourteenth Amendment guarantees all citizens equal protection

under the law.

      49.    One of the motivating factors for Defendants’ unconstitutional actions

towards Plaintiff was his race in violation of Equal Protection Clause contained in

the Fourteenth Amendment.

                                           9
Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.10 Filed 04/19/21 Page 10 of 12




     50.     Had Plaintiff been white, he would not have been treated in the

unlawful manner described above.

      51.    Defendant City of Ferndale acquiesced, condoned, approved, and

ratified the unconstitutional conduct of the Defendant police officers.

      52.    Defendant City of Ferndale, by its customs, policies and/or practices,

failed to enforce their own rules and regulations pertaining to arrest, custody and

detention of Plaintiff in violation of the minimum standards of the law and the

Constitution, whereby Plaintiff was deprived of liberty and the right to be free

from unreasonable searches and seizures.

      53.    As a direct and proximate result of Defendants’ constitutional

violations, Plaintiff suffered both economic and non-economic injuries including,

but not limited to, fear, humiliation, indignation, depression, anxiety, emotional

distress, loss of the enjoyments of life, legal fees, and other damages that will

continue to develop during and after this litigation.

      ACCORDINGLY, Plaintiff seeks judgment against Defendants, jointly and

severally, in excess of the jurisdictional limit of this Court and to which Plaintiff is

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and other damages provided by 42 USC § 1983 and 42 USC § 1988, law and good

conscience including, but not limited to, injunctive relief to prohibit Defendants

from engaging in such unlawful behavior.



                                          10
Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.11 Filed 04/19/21 Page 11 of 12




                                         Respectfully submitted,

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Dated: April 19, 2021                    tperkins@perkinslawgroup.com


                         DEMAND FOR JURY TRIAL

      Plaintiff, MARTEZE HALIBURTON, by and through his attorneys, hereby

demands a jury trial in the above captioned matter.

                                         Respectfully submitted,

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                                        11
Case 2:21-cv-10864-TGB-APP ECF No. 1, PageID.12 Filed 04/19/21 Page 12 of 12




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                                    12
